Case 1:20-cr-10140-MLW Document 51 Filed 10/08/21 Page 1 of 1

Case 1:20-cr-10140-MLW Document 50 Filed 10/06/21 Page 1Lof2

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

UNITED STATES OF AMERICA

v. Cr. No. 20-10140-MLW

1. BARRY PLUNKETT and

2. NANCY PLUNKETT
Defendants.

Lee

 

MOTION OF THE DEFENDANTS
FOR RULE 1) HEARINGS

PVRKY EE eee

For reasons to be articulated in a separate filing, Barry Plunkett and Nancy Plunkett
respectfully request that the Court schedule their respective Rule 11 hearings for December 7,

2021, the previously scheduled first day of trial.

Respectfully submitted,

BARRY PLUNKETT

(A \ \\, ore x By his attorney

+ /s/ Peter K. Levitt
Lol ve Peter K. Levitt (BBO# 565761)

DONNELLY, CONROY & GELHAAR, LLP
260 Franklin Street, Suite 1600

702 \ ACR Boston, Massachusetts 02110
aC ? (617) 720-2880

G&S \ pkl@dceglaw.com
avr vert perl

povpyr?- Int. oar Io] e/a

ts cs
